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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    ALLIANCE FOR RETIRED
    AMERICANS, et al.,

                 Plaintiffs,

          v.                                               Civil Action No. 25-0313 (CKK)

    SCOTT BESSENT, in his official capacity
    as Secretary of the Treasury, et al.,

                 Defendants.


                                  MEMORANDUM OPINION
                                      (March 7, 2025)

         For a time, parts of Silicon Valley embraced an unofficial credo of disruption: “Move Fast

and Break Things.”1 Plaintiffs, three large membership organizations, suggest that parts of the

Executive Branch are now doing the same. Specifically, Plaintiffs argue that officials in the

Department of the Treasury are moving so fast that preliminary injunctive relief is necessary to

protect their members from irreparable harm. And they contend that, absent that relief, Treasury

will break two laws—the Privacy Act of 1974 and the Internal Revenue Code—by disclosing their

members’ personal and financial information to individuals who lack authority to access it.

         Plaintiffs’ concerns are understandable and no doubt widely shared. However, on the

present record, Plaintiffs have not cleared the “high standard” of showing a likelihood of an

irreparable injury that is “beyond remediation,” which is a prerequisite to the issuance of a

preliminary injunction in this Circuit. See Chaplaincy of Full Gospel Churches v. England, 454

F.3d 290, 297 (D.C. Cir. 2006). Therefore, upon consideration of the parties’ submissions, the


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  Hemant Taneja, The Era of “Move Fast and Break Things” Is Over, Harv. Bus. Rev. (Jan. 22, 2019),
https://hbr.org/2019/01/the-era-of-move-fast-and-break-things-is-over [https://perma.cc/MU46-Q3ZZ].

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arguments and representations during the Motion Hearing on February 24, 2025, the relevant law,

and the entire record,2 the Court shall DENY Plaintiffs’ [8] Motion for a Preliminary Injunction.

                                               I. BACKGROUND

           A. Statutory Framework

                    1. The Privacy Act

           The Privacy Act of 1974, 5 U.S.C. § 552a, “was designed to provide individuals with more

control over the gathering, dissemination, and accuracy of agency information about themselves.”

Greentree v. U.S. Customs Serv., 674 F.2d 74, 76 (D.C. Cir. 1982). The Act was Congress’s

response to “a growing awareness that governmental agencies were accumulating an ever-

expanding stockpile of information about private individuals that was readily susceptible to both

misuse and the perpetuation of inaccuracies that the citizen would never know of, let alone have

an opportunity to rebut or correct.” Londrigan v. FBI, 670 F.2d 1164, 1169 (D.C. Cir. 1981).

           Congress enacted the Privacy Act “in conjunction with 1974 legislation amending the

Freedom of Information Act (FOIA).” Londrigan, 670 F.2d at 1169. As a result, the two statutes

are structurally similar, codified together in Title 5, and often read in tandem. “Both FOIA and

the Privacy Act evidence Congressional concern with open government.” Greentree, 670 F.2d at

76. And “[e]ach seeks in different ways to respond to the potential excesses of government.” Id.



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    The Court’s consideration has focused on the following documents, including the attachments and exhibits thereto:
      • Plaintiffs’ Complaint (“Compl.”), ECF No.1;
      • Plaintiffs’ Motion for a Preliminary Injunction (“Pls.’ Mot.”), ECF No. 8;
      • Defendants’ Notice of Correction (“Not. of Correction”), ECF No. 15;
      • Plaintiffs’ Supplement to the Record (“Pls.’ Suppl.”), ECF Nos. 16-1 to 16-8;
      • Defendants’ Memorandum in Opposition (“Defs.’ Opp’n”), ECF No. 24;
      • Defendants’ Supplement to the Record (“Defs.’ Suppl.”), ECF No. 26-1;
      • Plaintiffs’ Reply in Support of the Motion for a Preliminary Injunction (“Pls.’ Reply”), ECF No. 28;
      • Defendants’ Supplemental Memorandum (“Defs.’ Mem.”), ECF No. 29;
      • Plaintiffs’ Supplemental Memorandum (“Pls.’ Mem.”), ECF No. 31;
      • Plaintiffs’ First Notice of Supplemental Authority (“Pls.’ First Not. of Suppl. Auth.”), ECF No. 33; and
      • Plaintiffs’ Second Notice of Supplemental Authority (“Pls.’ Second Not. of Suppl. Auth.”), ECF No. 34.

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       FOIA deters government abuses by “open[ing] agency action to the light of public

scrutiny.” Dep’t of Air Force v. Rose, 425 U.S. 352, 372 (1976). The Privacy Act takes a different,

more direct tack. It creates procedures “to give the individual some control over the ways in which

Federal executive agencies handle[] . . . personal information at every stage of the information

process.” Comm’n on Fed. Paperwork, Privacy and Confidentiality: Issues in Information Sharing

21 (1977). As such, the Act imposes burdens on federal agencies and creates rights for individuals

when agencies collect, maintain, use, and disseminate “records.” The Act defines “record”

expansively to include “any item, collection, or grouping of information about an individual that

is maintained by an agency.” 5 U.S.C. § 552a(a)(4).

       At the collection stage, the Privacy Act requires that agencies collect information directly

from individuals to the greatest extent possible and inform individuals of the purpose and authority

for that collection. 5 U.S.C. § 552a(e)(2)–(3). If an agency maintains the records it collects such

that information can be retrieved “by the name of [an] individual or by some identifying number,

symbol, or other identifying particular”—a “system of records”—additional responsibilities

obtain. Id. § 552a(a)(5).

       Agencies must continuously ensure that records in their systems of records are accurate

and complete to the degree “necessary to assure fairness to the individual[s]” whose information

has been recorded. 5 U.S.C. § 552a(e)(5). To enforce that requirement, the Act dictates that any

individual can access and review all records “pertaining to” the individual in an agency’s system.

Id. § 552a(d)(1). If the individual identifies an error in the record, the Act grants the right to

request an amendment. Id. § 552a(d)(2). If that request is denied, or if the agency refuses to allow

the individual to review the relevant records, the affected individual may bring suit in federal

district court and obtain an injunction ordering the agency to comply.           Id. §§ 552a(d)(3),



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(g)(1)(A)–(B), (g)(2)–(3). And if that process fails, and the agency makes a determination adverse

to an individual because of an inaccuracy in its records, the Act provides a backstop: a suit for

damages. Id. §§ 552a(g)(1)(C), (g)(2)(4).

        Most importantly for purposes of this case, the Act also prohibits federal agencies from

sharing records about individuals, except under certain limited circumstances:

        No agency shall disclose any record which is contained in a system of records by
        any means of communication to any person, or to another agency, except pursuant
        to a written request by, or with the prior written consent of, the individual to whom
        the record pertains, unless [an enumerated exception applies].

5 U.S.C. § 552a(b). The Act’s enumerated exceptions allow disclosure of a record “to those

officers and employees of the agency which maintains the record who have a need for the record

in the performance of their duties.” Id. § 552a(b)(1). They also allow disclosure for “a routine

use.” Id. § 552a(b)(3). A “routine use” is a use of a record “for a purpose which is compatible

with the purpose for which it was collected.” Id. § 552a(a)(7). Each time an agency “establish[es]

or revis[es]” a system of records, it must publish a notice in the Federal Register detailing, among

other things, “each routine use of the records contained in the system, including the categories of

users and the purpose of such use.” Id. § 552a(e)(4).

        The Act does not specifically provide a remedy for violations of its prohibition on

disclosure. Instead, that prohibition is made enforceable through a catch-all remedial provision

applicable when the agency “fails to comply with any other provision of this section”—that is, any

provision other than those relating to accessing and correcting records. Id. § 552a(g)(1)(D). If the

agency’s failure has “an adverse effect on an individual,” the affected person may bring a civil suit

in federal district court. Id. And if that failure “was intentional or willful,” the plaintiff may obtain

attorney’s fees and the greater of the plaintiff’s actual damages or $1,000. Id. § 552a(g)(4).




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       The Act also provides criminal penalties for willful violations of its requirements. See 5

U.S.C. § 552a(i). It is a federal crime for any agency officer or employee willfully to disclose a

protected record “in any manner to any person or agency not entitled to receive it,” id. § 552a(i)(1),

or to maintain a system of records “without meeting the notice requirements” provided in the Act,

id. § 552a(i)(2). It is also a federal crime for any person to “request[] or obtain[] any record

concerning an individual from an agency under false pretenses.” Id. § 552a(i)(3).

                2. The Internal Revenue Code

       The Internal Revenue Code requires less introduction. Along with its obvious functions,

the Code also restricts agencies’ access to and use of certain financial information. Section 6103

of the Code provides that tax “[r]eturns and return information shall be confidential,” and that:

       [E]xcept as authorized by [the Code] . . . no officer or employee of the United
       States, . . . [and] no other person . . . who has or had access to returns or return
       information under [various Code provisions providing for that access], shall
       disclose any return or return information obtained by him in any manner in
       connection with his service as such an officer or an employee or otherwise or under
       the provisions of this section.

26 U.S.C. § 6103(a). As used in this provision, the term “officer or employee” includes a former

officer or employee. Id.

       The Code permits taxpayers to seek damages from the United States for any knowing or

negligent inspection or disclosure of tax returns or return information. 26 U.S.C. § 7431(a). But

the United States is not liable for any inspection or disclosure that the taxpayer requests or that

results from “a good faith, but erroneous, interpretation” of the Code’s confidentiality

requirements. Id. § 7431(b). Willful violations of the rule against disclosure are also punishable

as felonies, and any federal officer or employee convicted of such a violation “shall, in addition to

any other punishment, be dismissed from office or discharged from employment.”                      Id.

§ 7213(a)(1).

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               3. The Administrative Procedure Act

        The Administrative Procedure Act (“APA”) provides a cause of action against an “agency”

or “an officer or employee thereof” to any “person . . . adversely affected or aggrieved by agency

action within the meaning of a relevant statute.” 5 U.S.C. § 702. The APA waives the sovereign

immunity of the United States for “relief other than money damages” in such an action. Id.; Med.

Imaging & Tech. All. v. Libr. of Cong., 103 F.4th 830, 836 (D.C. Cir. 2024). Judicial review is

available under the APA only for “final agency action for which there is no other adequate remedy

in a court.” 5 U.S.C. § 704.

        B. Factual Background

               1. The Bureau of the Fiscal Service

        The Bureau of the Fiscal Service (“BFS”) is part of the Department of the Treasury. It is

the successor to two former agencies within Treasury, the Fiscal Management Service and the

Bureau of the Public Debt, which Treasury Secretary Timothy Geithner consolidated in October

2012.    See Treasury Order 136-01 (Oct. 7, 2012), https://home.treasury.gov/about/general-

information/orders-and-directives/treasury-order-136-01 [https://perma.cc/D36S-HQC6].        BFS

handles 87.8% of the payments made by the federal government, totaling $5.46 trillion each year.

Decl. of Vona S. Robinson (“Robinson Decl.”), ECF No. 24-4, ¶ 2.

        To carry out this important mission, BFS maintains multiple systems that hold sensitive

information about federal payments and the recipients of those payments. These systems include

the Payment Automation Manager (“PAM”), which is Treasury’s “primary application” used “to

process payment for disbursement,” and the Secure Payment System (“SPS”), which agencies use

to “create, certify, and submit payment files” to Treasury for payment. Robinson Decl. ¶ 4. The

SPS is also “typically used for one-time large dollar amount transactions.” Id.



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         BFS’s payment systems contain records with extensive details about individual recipients

of federal payments. For any given payee, these details may include:

         name, Social Security number, employer identification number, or other agency
         identification or account number; date and location of birth, physical and/or
         electronic mailing address; telephone numbers; payment amount; date of issuance;
         trace number or other payment identification number, such as Treasury check
         number and symbol; financial institution information, including the routing number
         of his or her financial institution and the payee’s account number at the financial
         institution; and vendor contract and/or purchase order number.

Bureau of the Fiscal Service Notice of Systems of Records, 85 Fed. Reg. 11776, 11779 (Feb. 27,

2020).

                2. The U.S. DOGE Service

         On January 20, 2025, President Donald J. Trump signed an Executive Order purporting to

establish a “Department of Government Efficiency,” a new initiative with the stated goal of

“modernizing Federal technology and software to maximize governmental efficiency and

productivity.” Exec. Order No. 14,158, 90 Fed. Reg. 8441 (Jan. 20, 2025) § 1. The President’s

Executive Order renamed the existing United States Digital Service as the “United States DOGE

Service” (“USDS” or “DOGE”) and provided that its leader, the “USDS Administrator,” would

report directly to the White House Chief of Staff. Id. § 3(a)–(b). The Executive Order also

established the “U.S. DOGE Service Temporary Organization.” Id. § 3(b). Defendants’ counsel

has represented that, for present purposes, USDS and the “U.S. DOGE Service Temporary

Organization” are “one and the same.” Transcript of Feb. 24, 2025 Preliminary Injunction Hearing

(“Feb. 24 Tr.”), ECF No. 36, at 60:9–14.

         The Executive Order further directed the heads of each federal agency to “establish within

their respective agencies a DOGE Team of at least four employees” within 30 days. Exec. Order

No. 14,158 § 3(c). These employees may include “Special Government Employees.” Id. A



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Special Government Employee may be, as relevant here, a temporary “officer or employee” who

is “retained, designated, appointed, or employed to perform, with or without compensation . . .

temporary duties either on a full-time or intermittent basis” for up to 130 days in any consecutive

365-day period. 18 U.S.C. § 202(a). Special Government Employees are exempt from some of

the ethics rules that apply to most federal employees. See 18 U.S.C. §§ 203, 205, 207–209.

        Finally, the Executive Order directed the heads of federal agencies to “take all necessary

steps, in coordination with the USDS Administrator and to the maximum extent consistent with

law, to ensure USDS has full and prompt access to all unclassified agency records, software

systems, and IT systems.” Exec. Order No. 14,158, 90 Fed. Reg. 8441 (Jan. 20, 2025) § 4(b).

                 3. The Treasury DOGE Team

        In the early days of the new Administration, two people received assignments to work at

Treasury in connection with “the President’s DOGE efforts.” See Feb. 8 Decl. of Thomas H.

Krause, Jr. (“Krause Decl. I”), ECF No. 15-1, ¶¶ 1, 11; Feb. 12 Decl. of Thomas H. Krause, Jr.

(“Krause Decl. II”), ECF No. 24-1, ¶ 11; Decl. of Michael J. Wenzler (“Wenzler Decl.”), ECF No.

24-3, ¶¶ 3, 9.

        The first person assigned, Marko Elez, was named a “Special Advisor for Information

Technology and Modernization” on January 21, 2025. Wenzler Decl. ¶ 9. Elez was appointed as

a “temporary transitional Schedule C” employee under 5 C.F.R. § 213.3302, which allows certain

temporary appointments “during the 1-year period immediately following a change in presidential

administration.” Wenzler Decl. ¶ 9. In this role, Elez was responsible for conducting “special and

confidential studies on a variety of strategies and issues related to Treasury’s information

technology,” analyzing Treasury systems, and “making recommendations to strengthen Treasury’s




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hardware and software.” Id. ¶ 10. Because Elez was not designated a Special Government

Employee, he was bound by the same ethics rules as most federal employees. Id. ¶ 11.

       Elez resigned from Treasury on February 6, 2025. Wenzler Decl. ¶ 12. After BFS received

notice of Elez’s resignation, it “revoked or removed all physical and logical access and recovered

all Treasury equipment,” including laptops, a cell phone, and access cards. Gioeli Decl. ¶ 22.

There is no indication in the record that Elez retains access to any BFS payment data, source code,

or systems. See id.; Krause Decl. I ¶ 11.

       The second person assigned to Treasury in connection with “the President’s DOGE

efforts,” Thomas H. Krause, Jr., started work on January 23, 2025, as a “Senior Advisor for

Technology and Modernization.” Krause Decl. II ¶¶ 1, 11. Krause serves as Treasury’s “DOGE

Team lead” and still works at Treasury. Id. ¶ 2, see Wenzler Decl. ¶ 3.; Feb. 13 Decl. of Thomas

H. Krause, Jr. (“Krause Decl. III”), ECF No. 25-1, ¶ 1.

       When Krause signed his Treasury appointment paperwork, and took an oath of office on

January 23, he was “onboarded” as a “consultant” under the authority of 5 U.S.C. § 3109. Wenzler

Decl. ¶ 4; Krause Decl. III ¶ 3. But the appointing official at Treasury did not execute Krause’s

appointment paperwork until February 3. Wenzler Decl. ¶ 5. When executed, this paperwork

identified Krause’s start date as February 9—more than two weeks after he began working at

Treasury.   Id.   On February 10, the appointing official “executed revised appointment

documentation” for Krause, backdating his appointment to January 23. Id.

       On February 5, Treasury Secretary Scott Bessent delegated the duties of the Fiscal

Assistant Secretary to Krause. Krause Decl. II ¶ 5. But because Krause had been appointed to

Treasury as a “consultant” under 5 U.S.C. § 3109, he was not authorized to “perform managerial

or supervisory work” except as “team leader or director of the specific project for which he . . .



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[was] hired.” See 5 C.F.R. § 304.103(b)(3); Krause Decl. III ¶ 3. Krause therefore did not assume

the duties of the Fiscal Assistant Secretary until February 13, when he was sworn into an

appointment as a “temporary transitional Schedule C” employee. See Krause Decl. III ¶ 4.

       At all times, unlike Elez, Krause has been designated as a Special Government Employee,

meaning he is exempt from certain ethics rules that apply to most federal employees. Id. ¶ 4.

Krause also serves as the Chief Executive Officer of Cloud Software Group, Inc., a private

company in the enterprise software industry. Krause Decl. II ¶ 1. He has kept this role while in

government service and works without pay at Treasury. Id.

       Treasury officials initially authorized Krause to have “‘over the shoulder’ access to view

BFS payment data, payment systems, and copied source code that was being accessed by other

Treasury employees with appropriate access to the data or systems.” Krause Decl. I, ¶ 9. However,

Krause has never had “direct or personal access to BFS payment data, code, or systems.” Id. And

as of February 8, in compliance with a temporary restraining order entered in the U.S. District

Court for the Southern District of New York, Krause no longer has “over the shoulder” access to

BFS systems. Krause Decl. I at ¶ 9; see also New York v. Trump, No. 25-cv-1144-JAV, ECF No.

76 at 63–64 (S.D.N.Y. Feb. 21, 2025) (granting preliminary injunction).

       Since this case began, Treasury has made plans to onboard three more people to serve as

part of the Treasury DOGE Team. See Decl. of John York (“York Decl.”), ECF No. 30-1, ¶ 3.

One of these individuals, Ryan Wunderly, is slated to fill the position previously held by Marko

Elez. Id. Like Elez, Wunderly will be appointed through a temporary transitional Schedule C

appointment, and his “position description and job duties will be substantially the same as those

of Mr. Elez.” Id. ¶ 4. Wunderly will also be “subject to the same risk mitigation measures

Treasury previously applied to Mr. Elez.” Id. ¶ 6. The two other members of the Treasury DOGE



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Team will “be working principally at the Internal Revenue Service” and will not have access to

BFS payment systems. Id. ¶¶ 3, 6.

               4. The BFS Payment Process Engagement Plan

       On January 26, 2025, BFS “initiated” a “payment process engagement plan” with the

Treasury DOGE Team. Krause Decl. II ¶ 13. This plan provided that BFS would “support the

Treasury DOGE Team”—at the time, Krause and Elez—for a period of four to six weeks. Krause

Decl. II ¶ 13; Robinson Decl. ¶ 6. Treasury Secretary Bessent “approved the engagement in the

early days of the new Administration.” Krause Decl. II ¶ 15.

       The objective of the payment process engagement is “to gain insight into the full, end-to-

end payment process across multiple BFS systems” and “identify gaps that, if resolved, would

make the system . . . work more efficiently and securely.” Krause Decl. II ¶ 13. The engagement’s

purposes also include “understand[ing] BFS payment processes and identify[ing] opportunities to

advance payment integrity and fraud reduction goals.” Robinson Decl. ¶ 6.

       Toward those ends, one of the engagement’s early goals was to ensure that all payments

made through BFS systems are tagged with symbols and codes identifying the type of the payment

and the type of account receiving the payment. Krause Decl. II ¶ 14. These symbols and codes

are intended to help the federal government account for its spending more accurately. Id. The

Treasury DOGE Team “agreed to help” with the process of adding these symbols and codes “in

support of its goal of modernizing and identifying inefficiencies.” Id.

       Because understanding “the full end-to-end payment process, across multiple payment

systems,” was “an important part of” the Treasury DOGE Team’s work on the payment process

engagement, that work “required review of the source code for BFS’s payment systems as well as




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the ability to review sensitive payment data.” Krause Decl. II ¶ 15; see also Decl. of Joseph

Gioeli III (“Gioeli Decl.”), ECF No. 24-2, ¶ 13.

       BFS officials recognized that the access they were providing to the Treasury DOGE Team

as part of this engagement was “broader in scope than what has occurred in the past.” Gioeli Decl.

¶ 13. Specifically, BFS had never provided “a single individual with access to multiple systems

and data records,” as it did for the Treasury DOGE Team. Id. Although BFS had provided

extensive “read-only” access to Treasury systems to auditors in the past, “in those scenarios the

availability of production data”—that is, sensitive data about real federal payments and payees—

“was significantly limited.” Id. By contrast, BFS officials have not identified any limitations

placed on the Treasury DOGE Team’s ability to view “production data” through secure BFS

systems as part of the new payment process engagement. See id. ¶¶ 11–13.

       BFS officials also recognized that allowing “broad access” to such sensitive information

would present “risks,” including “potential operational disruptions” to payment systems, risk of

improper “access to sensitive data elements,” and “insider threat risk.” Gioeli Decl. ¶ 11.

       To mitigate these risks “to the extent possible,” BFS officials took several measures to

monitor and control the Treasury DOGE Team’s access to BFS systems. Gioeli Decl. ¶¶ 12–15.

For example, BFS chose just one person, Elez, to be the “technical team member” with direct,

personal access to BFS systems and data for use in the engagement. Id. ¶ 14; Krause Decl. II ¶ 3.

Krause would have “over the shoulder” access and would be authorized to receive updates from

Elez about his work, but Krause would not have direct access. Gioeli Decl. ¶ 4. BFS provided

Elez with a dedicated laptop to use with BFS systems, and all usage of this laptop was

automatically logged. Id. ¶¶ 12, 21. To allow Elez to review and interact with source code for

BFS systems without directly modifying active BFS systems, BFS set up a “secure code



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repository” or “sandbox” environment that would allow Elez to “review and make changes locally

to copies of the source code” in a “cordoned-off” setting in which he “did not have the authority

or capability to publish any code changes to the production system or underlying test

environments.” Id. ¶ 16. BFS officials also planned to provide Elez with “read-only” access to

BFS payment systems, meaning that he would not have the ability to modify any records stored in

any BFS systems. Id. ¶ 13.

       However, operating on a compressed timeline, BFS officials failed to implement some of

these protective measures as planned. On February 5, a BFS employee mistakenly granted Elez

“read/write permissions” for the Secure Payment System (“SPS”), a BFS system that federal

agencies use to “create, certify, and submit individual payment files to Treasury” for processing.

Gioeli Decl. ¶¶ 5, 8, 20. SPS is the system “typically used for one-time large dollar amount

transactions.” Id. ¶ 8. BFS personnel corrected Elez’s access to be “read-only” on the morning of

February 6. Id. ¶ 20. Elez resigned from Treasury the same day. Id. ¶ 22.

       Despite the configuration mistake, BFS officials believe that Elez never exercised his

“write” permissions on the SPS database. Gioeli Decl. ¶ 20. An initial “forensic investigation”

by BFS officials into Elez’s access “confirmed” that Elez interacted with the system only during a

“supervised, walk-through session” and that “no unauthorized actions had taken place.” Id. As of

February 24, a complete “forensic analysis” of Elez’s activities had not yet been completed. See

id.; Feb. 24 Tr. at 107:23–108:2

               5. The DOGE Team’s Use of BFS Systems to Review Foreign Aid Payments

       On or about January 26, 2025, Treasury leaders “approved a process” intended to “assist

agencies in complying with the President’s January 20, 2025 Executive Order on foreign aid.”

Robinson Decl. ¶ 7.     The President’s Executive Order directed agencies to pause foreign



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development assistance payments “immediately,” but it provided that the Secretary of State “may

waive the pause” for “specific programs.” See Exec. Order 14,169, 90 Fed. Reg. 8619 (Jan. 20,

2025) § 3(a), (e); Krause Decl. II ¶ 17. To assist in the implementation of this Order, the Treasury

DOGE Team and BFS worked to identify “payments that matched certain Treasury Account

Symbols (TAS) associated with foreign payments” and “flag[] those payments for the State

Department for review consistent with the Executive Order.” Krause Decl. II ¶¶ 18–20.

       “Treasury leadership” initially directed BFS on January 26 to “develop a process to identify

all USAID payment files within the [Payment Automation Manager] file system’s ‘landing zone’”

and “flag those payments for the State Department . . . prior to their entry into” BFS’s payment

processing systems. Robinson Decl. ¶ 8. However, on January 27, “Treasury leadership informed

BFS that the State Department had decided to intercept the USAID files prior to the initial

submission to BFS,” making it “unnecessary to continue to flag any USAID payment files for the

State Department’s review.” Id.

       Later, on January 31, BFS was directed to identify payment files matching any of four

specific “Treasury Account Symbol” codes—codes indicating that the proposed payments may

have been related to foreign aid—and to provide copies of those payment files to “certain

designated Department of State officials” for their review and a determination of whether “the

Executive Order required a pause” on the payments. Robinson Decl. ¶ 10. The present record

does not reveal who gave this direction. See id. To complete this task, “BFS career staff queried

the PAM file system manually to identify payment files.” Id. ¶ 11. BFS career staff also shared

the relevant payment files with Elez. Id. Later, Elez “assisted in automating the manual review

of the payment files.” Id. The record does not indicate exactly which systems Elez accessed or

used to accomplish this task; however, based on BFS’s “preliminary log reviews,” on February 3,



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Elez “copied two USAID files directly from the PAM database to his BFS laptop”; on February 4

and 5, he “accessed the PAM file system; and on February 5, he “accessed the PAM payment

processing database.” Gioeli Decl. ¶ 18. BFS’s preliminary reviews concluded that Elez “did not

change or alter any BFS payment system or record within their source systems.” Id.

       The record indicates that only one payment was halted as a result of BFS’s new process for

reviewing foreign aid payments: On February 10, BFS identified a payment request from the

Department of the Interior on behalf of the Millenium Challenge Corporation, which it forwarded

to authorized officials at the State Department for that Department’s review. Robinson Decl. ¶¶

14, 16. Later that day, an official from the Department of the Interior requested that BFS not

process the payment. Id. BFS also identified four other payment files and forwarded them to

authorized officials at the State Department, but the State Department instructed that those

payments “could be processed normally.” Id. ¶ 13. Those files “were then processed in the normal

course that same day.” Id.

       Since February 10, BFS has “ensured that the State Department review process will not

proceed for payment requests within the scope of the [temporary restraining order] issued in New

York v. Trump, No. 1:25-cv-39-JJM-PAS,” a case pending in the U.S. District Court for the District

of Rhode Island. Robinson Decl. ¶ 12.

       In sum, the present record shows that Defendants, acting in haste, made multiple mistakes

in onboarding the Treasury DOGE Team. There is no indication in the present record that these

mistakes have resulted in disclosures outside the federal government, but neither is there any

indication that Defendants have yet completed any independent forensic review to determine

exactly what information may have been shared outside Treasury.




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               6. The Plaintiff Organizations

       Plaintiffs in this case are three membership organizations: Alliance for Retired Americans

(“Alliance”); American Federation of Government Employees, AFL-CIO (“AFGE”); and Service

Employees International Union (“SEIU”).         Compl. ¶¶ 10–12.     Each of these organizations

advocates on behalf of its members’ social and economic interests. See Decl. of Richard J. Fiesta

(“Fiesta Decl.”), ECF No. 8-2, ¶ 3; Decl. of Everett Kelley (“Kelley Decl.”), ECF No. 8-3, ¶ 3;

Decl. of Steven K. Ury (“Ury Decl.”), ECF No. 8-4, ¶ 3. And each has many thousands of

members who receive payments from the federal government, meaning that Treasury holds their

bank information and other sensitive identifying information about them. Fiesta Decl. ¶¶ 4–6;

Kelley Decl. ¶¶ 4–6; Ury Decl. ¶¶ 4–6. Many of these members are concerned that having this

information shared with individuals associated with DOGE violates their privacy and increases the

risk that they will become victims of identity theft or other misuses of their personal information.

See, e.g., Fiesta Decl. ¶¶ 7–9; Kelley Decl. ¶¶ 7–9; Ury Decl. ¶¶ 7–9; Decl. of Carol Rosenblatt

(“Rosenblatt Decl.”), ECF No. 16-2, ¶¶ 7–10; Decl. of Jeanette L. McElhaney (“McElhaney

Decl.”), ECF No. 16-3, ¶¶ 7–10; Decl. of Barabara Casey (“Casey Decl.”), ECF No. 16-4, ¶¶ 7–

10; Decl. of Henrietta Jenkins (“Jenkins Decl.”), ECF No. 16-5, ¶¶ 7–10; Decl. of Pia Morrison

(“Morrison Decl.”), ECF No. 16-6, ¶¶ 5–8; Decl. of Patrice Peterson (“Peterson Decl.”), ECF No.

16-7, ¶¶ 6–9; Decl. of Susan Tousignant (“Tousignant Decl.”), ECF No. 16-8, ¶¶ 6–9.

       C. Procedural History

       Plaintiffs filed the Complaint in this matter on February 3, 2025. ECF No. 1. Two days

later, they moved for a temporary restraining order enjoining Defendants “from disclosing

information about individuals to individuals affiliated with the” USDS and further enjoining

Defendants “to retrieve and safeguard any information that has already been obtained by [USDS]



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or individuals associated with it.” Pl.’s Mot., ECF No. 8, at 1. In response, this Court ordered the

parties to appear for a hearing on February 5 “to answer factual questions related to the Plaintiffs’

allegations and set an expedited briefing schedule on the Plaintiffs’ Motion.” Order, ECF No. 10.

       During that preliminary hearing, Defendants’ counsel made representations to the Court

about the scope of access granted to the BFS systems of records. See generally Transcript of Feb.

5, 2025 Scheduling Conference (“Feb. 5 Tr.”), ECF No. 14.

       First, counsel stated that “[t]here is one person who has been given access to the systems”:

Marko Elez. Feb. 5 Tr. at 7:3–5. Counsel further represented that Mr. Elez “is a Treasury

employee”—specifically, a “Special Government Employee[] within the Treasury Department.”

Id. at 7:9, 12:25–13:4. According to counsel, Mr. Elez had “read-only access” to BFS systems in

his capacity as a Special Government Employee and had not disclosed the records in those systems

to anyone “outside of the Treasury Department.” Id. at 15:1–7.

       Second, counsel reported that Thomas Krause—another “Treasury employee”—“is

provided information from the [BFS] system[s]” but “does not have direct access to” those systems

himself. Feb. 5 Tr. at 7:10–13. Put differently, counsel represented that although Krause “does

not actually work in the system . . . information [from the system] is provided to him through Mr.

Elez.” Id. at 38:17–21. Counsel reported that he was “unaware of any plan in which the employees

who are located in the Treasury Department, Mr. Krause and Mr. Elez, . . . would share”

information in BFS systems with anyone else. Id. at 25:15–19. Instead, counsel’s “understanding

[was] that they are the ones who will be reviewing the records and that [the records] will not leave

the Treasury Department.” Id. at 25:19–21.

       Defendants later clarified that some of these early representations to the Court were

inaccurate. On February 10, Defendants filed a Notice of Correction to advise the Court that Elez



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was not, in fact, a Special Government Employee, as Defendants’ counsel had been informed prior

to the preliminary hearing; instead, Elez was hired by Treasury as a temporary transitional

Schedule C employee. See Defs.’ Not. of Correction, ECF No. 15.

       Two days later, on February 12, Defendants filed another declaration stating that Elez had

mistakenly been given “read/write permissions,” rather than “read only” permissions, for one BFS

database. Gioeli Decl. ¶ 20. This declaration also stated that that BFS officials “have found no

indication . . . that Mr. Elez used his BFS laptop to share any BFS payment systems data outside

the U.S. Government,” leaving open the possibility—contrary to the information Defendants’

counsel conveyed at the preliminary hearing—that Elez may have shared BFS records outside of

Treasury. Id. ¶ 21. Defendants also filed a separate declaration stating that Elez had participated

in a new initiative to share certain BFS payment files with State Department officials. Robinson

Decl. ¶¶ 8–11. Based on this information, Defendants now admit that Elez “may have taken part

in helping disseminate information from BFS systems outside of Treasury as part of the new State

Department review process,” but they do not specify exactly who may have received that

information. See Defs.’ Opp’n at 6–7 & n.2.

       During the preliminary hearing on February 5, the Court encouraged the parties to confer

and determine whether they could reach agreement on a consent order that would preserve the

status quo pending full briefing and consideration of a motion for a preliminary injunction. See

Feb. 5 Tr. at 25:22–26:12; 27:4–28:14. Plaintiffs agreed to convert their Motion for a Temporary

Restraining Order into a Motion for a Preliminary Injunction if the Court entered such an order.

Id. at 45:25–46:1; see Min. Order (Feb. 2, 2025).

       Soon after the preliminary hearing concluded, the parties agreed on a consent order to

preserve the status quo and jointly requested that the Court enter that order. See Joint Mot. for



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Entry of Proposed Order, ECF No. 11. The Court then entered the parties’ proposed order and

converted the Plaintiffs’ Motion for a Temporary Restraining Order into a Motion for a

Preliminary Injunction. See Order, ECF No. 13. With the parties’ consent, the Court later

modified this order to provide that Ryan Wunderly, a new Treasury employee who will be a

member of the Treasury DOGE Team, may exercise “read only” access to BFS payment records

and systems of records “as needed for the performance of his duties.” Order, ECF No. 32.

       Defendants have now had a full opportunity to respond to Plaintiffs’ Motion, and Plaintiffs

have filed a reply in support of the Motion. See Defs.’ Opp’n, ECF No. 24; Pls.’ Reply, ECF No.

28. The Court granted both Plaintiffs and Defendants leave to supplement their submissions to

add declarations that further develop the factual record. See Order, ECF No. 19; Min. Order (Feb.

18, 2025). The Court also called for supplemental memoranda from the parties addressing whether

the Court’s consideration of the Plaintiffs’ Motion should focus on an administrative record. See

Order, ECF No. 27. The Plaintiffs and Defendants each filed supplements in response to this

Order, agreeing that the Court may decide the pending Motion without reviewing an administrative

record. See Defs.’ Mem., ECF No. 29; Pls.’ Mem., ECF No. 31.

       The Court held a hearing on Plaintiffs’ Motion on February 24, 2025, at which the parties

presented oral arguments and made additional representations about the factual basis for the

Motion. See generally Feb. 24 Tr., ECF No. 36.

       After the hearing, the Court ordered Defendants to “file the administrative record

underlying the decisions challenged in this case on or before March 10, 2025.” Min. Order (Feb.

25, 2025). The Court explained that “binding precedent compels the Court to call for the

administrative record” before ruling on the likelihood of Plaintiffs’ success on the merits of their

APA claims. Id. (citing Am. Bioscience, Inc. v. Thompson, 243 F.3d 579, 582 (D.C. Cir. 2001)).



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The Court further explained that there was “no impediment to ordering the production of the

administrative record at this stage” because the Court had concluded, for the reasons explained

later in this Memorandum Opinion, that it “has subject-matter jurisdiction over this matter.” Id.

        Plaintiffs’ Motion for a Preliminary Injunction is now ripe for decision.

        D. Related Proceedings

        The parties have alerted the Court to three recent orders in related cases involving BFS and

the Treasury DOGE Team that are pending in other federal district courts. See Pls.’ First Not. of

Suppl. Auth., ECF No. 33; Pls.’ Second Not. of Suppl. Auth., ECF No. 34.

        First, Judge Jeannette A. Vargas of the U.S. District Court for the Southern District of New

York has issued a preliminary injunction against multiple defendants, including Secretary Bessent

and the Treasury Department, limiting the Treasury DOGE Team’s access to Treasury payment

records and systems. See New York v. Trump, No. 25-cv-1144-JAV, 2025 WL 573771, at *27

(S.D.N.Y. Feb. 21, 2025). Judge Vargas’s order restrains these defendants from:

        granting access to any Treasury Department payment record, payment systems, or
        any other data systems maintained by the Treasury Department containing
        personally identifiable information and/or confidential financial information of
        payees to any employee, officer or contractor employed or affiliated with the United
        States DOGE Service, DOGE, or the DOGE Team established at the Treasury
        Department

until further order. Id.

        Judge Vargas concluded that the plaintiffs in the case before her were entitled to that relief

because they had shown, among other things, a likelihood of success on the merits of their claim

that “the agency’s processes for permitting the Treasury DOGE Team access to critical BFS

payment systems, with full knowledge of the serious risks that access entailed, was arbitrary and

capricious.” Id. at 50. In support of this conclusion, Judge Vargas noted that “everything about

this process was rushed” and that “[t]he record is silent as to what vetting or security clearance

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process [Krause and Elez] went through prior to their appointment.” Id. She also noted that the

pace of implementation “left career staff with almost no time to develop their mitigation

measures.” Id. at 51. And she noted with concern the facts that “Elez was mistakenly given

read/write access” to a BFS payment database, that Treasury had not yet determined whether Elez

“emailed . . . confidential information to officials outside the Treasury Department,” and that

Treasury DOGE Team members appear to “take instruction” about some matters from USDS

officials rather than Treasury officials. Id.

       Judge Vargas also concluded that the plaintiffs had made a sufficient showing of

irreparable harm to support a preliminary injunction. Id. at 59–60. Specifically, she held that the

plaintiffs had “sufficiently allege[d] irreparable harm from the risk of ‘expanded access’ to the

BFS payment systems that will possibly compromise the systems to become ‘far more vulnerable

to hacking or activities that render the information corrupted or compromised.’” Id. at 59 (quoting

plaintiffs’ brief). Judge Vargas found that these conditions created a “substantial risk of harm”

because “the data access protocols in place do not satisfactorily vet the employees with access and

rigorously train them in data security measures.” Id.

       Judge Vargas has ordered the defendants in the case before her to submit a report on or

before March 24, 2025, advising the court of the “training,” “vetting,” and “mitigation” procedures

used to ensure the security of the Treasury DOGE Team’s work, among other matters. Id. This

preliminary injunction remains in effect, and no notice of appeal has yet been filed. See id.

       Second, Judge Rossie D. Alston, Jr. of the U.S. District Court for the Eastern District of

Virginia denied a consolidated motion for a temporary restraining order and preliminary injunction

against multiple defendants, including Secretary Bessent and Treasury, that would have limited

the Treasury DOGE Team’s access to Treasury payment records and systems. See Elec. Privacy



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Info. Ctr. v. U.S. Off. of Pers. Mgmt., 25-cv-0255-RDA/WBP, ECF No. 35 (E.D. Va. Feb. 21,

2025). Judge Alston concluded that the plaintiffs in the case—an unnamed federal employee and

a nonprofit organization suing on behalf of its members—had failed to make a sufficient showing

of irreparable harm to support a temporary restraining order or a preliminary injunction. Id. at 13–

15. Judge Alston concluded that the plaintiffs’ assertions about threatened injuries from improper

disclosures or data breaches involving their personal information were “speculative” and “based

on a series of possibilities, any one of which may never materialize.” Id. at 14.

       Third, Judge Deborah L. Boardman of the U.S. District Court for the District of Maryland

denied a motion for a temporary restraining order that would have prevented Secretary Bessent

and Treasury from sharing sensitive personal information with “individuals who are implementing

the President’s DOGE agenda.” See Am. Fed. of Teachers v. Bessent, No. 25-cv-0430-DLB, ECF

No. 38 at 1–2 & n.1 (Feb. 24, 2025). Although Judge Boardman granted similar temporary

restraining orders against other defendants, she declined to do so as to Secretary Bessent and the

Treasury Department because she concluded, in light of Judge Vargas’s preliminary injunction in

the Southern District of New York, that the plaintiffs could not “establish that they would be

irreparably harmed” in the absence of a further temporary restraining order. Id. at 2 n.1.

                                    II. LEGAL STANDARD

       “A preliminary injunction is an extraordinary remedy that should be granted only when the

party seeking the relief, by a clear showing, carries the burden of persuasion.” Cobell v. Norton,

391 F.3d 251, 258 (D.C. Cir. 2004). To obtain a preliminary injunction, Plaintiffs must establish

(1) that they are “likely to succeed on the merits,” (2) that they are “likely to suffer irreparable

harm in the absence of preliminary relief,” (3) that “the balance of equities tips in [their] favor,”

and (4) that “an injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555



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U.S. 7, 20 (2008). “[W]hen the Government is the opposing party,” as it is in this case, the balance-

of-equities and public-interest factors “merge,” and courts address those factors together. Nken v.

Holder, 556 U.S. 418, 435 (2009); Singh v. Berger, 56 F.4th 88, 107 (D.C. Cir. 2022).

                                                 III. ANALYSIS

         A. The Court Has Jurisdiction Over This Case.

         Defendants raise two challenges to this Court’s subject-matter jurisdiction in their briefing

on Plaintiffs’ Motion.3 First, they argue that Plaintiffs have not established Article III standing.

Defs.’ Opp’n at 16–20. Second, they contend that Defendants have sovereign immunity against

Plaintiffs’ claims because the Privacy Act and Internal Revenue Code impliedly forbid injunctive

relief under the Administrative Procedure Act and because those statutes provide Plaintiffs with

adequate alternative remedies. Id. at 22–27.

         Defendants present these arguments as bases to deny Plaintiffs’ request for a preliminary

injunction. See Defs.’ Opp’n at 16. Because the Court resolves Plaintiffs’ Motion on other

grounds, it does not reach Defendants’ arguments about subject-matter jurisdiction in that context.

But this Court has “an independent obligation to determine whether subject-matter jurisdiction

exists” even before any party has raised a challenge to that jurisdiction. Arbaugh v. Y&H Corp.,

546 U.S. 500, 514 (2006). Accordingly, before turning to Plaintiff’s Motion, the Court begins by

assuring itself of its subject-matter jurisdiction.

         For the reasons that follow, the Court concludes that it has subject-matter jurisdiction over

this case.


3
 Defendants also raise a third “threshold obstacle to Plaintiffs’ claims.” Defs.’ Opp’n at 16. Namely, Defendants
argue that Plaintiffs cannot secure a preliminary injunction under the APA because they do not challenge a final
agency action. Id. at 20. And Defendants briefly suggest that without a final agency action, this Court lacks subject-
matter jurisdiction. See Defs.’ Mem. at 1. But binding precedent holds that “the APA’s final agency action
requirement is not jurisdictional.” Trudeau v. FTC, 456 F.3d 178, 184 (D.C. Cir. 2006). As a result, as Defendants’
counsel agreed during the hearing on Plaintiffs’ Motion, this argument goes to the merits, rather than to the Court’s
subject-matter jurisdiction. See Feb. 24 Tr. at 88:9–17. The Court therefore does not reach that argument at this stage.

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                 1. Plaintiffs have standing.

        Article III of the Constitution confines the federal judicial power to the resolution of

“Cases” and “Controversies.” U.S. Const. art. III, § 2, cl. 1. And the doctrine of “standing is an

essential and unchanging part of the case-or-controversy requirement of Article III.” Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560 (1992). For that reason, deciding that a plaintiff has standing

is a necessary “predicate to any exercise of [the Court’s] jurisdiction.” Fla. Audubon Soc’y v.

Bentsen, 94 F.3d 658, 663 (D.C. Cir. 1996) (en banc).

        When an organization seeks to establish standing, it may do so in two ways. It may show

that it has “organizational standing” to sue on its own behalf. FDA v. All. For Hippocratic Med.,

602 U.S. 367, 393 (2024). Or it may demonstrate that it has “associational standing” to sue on

behalf of its members. Sierra Club v. EPA, 754 F.3d 995, 999 (D.C. Cir. 2014). Here, Plaintiffs

assert associational standing.         See Pls.’ Reply at 14–20 (discussing harms to “Plaintiffs’

members”); Feb. 24 Tr. at 7:17–23.

        To establish associational standing, an organization must show that “(1) its members would

otherwise have standing to sue in their own right; (2) the interests it seeks to protect are germane

to the organization’s purpose; and (3) neither the claim asserted nor the relief requested requires

the participation of individual members in the lawsuit.” Int’l Dark-Sky Ass’n, Inc. v. FCC, 106

F.4th 1206, 1217 (D.C. Cir. 2024) (quoting Ctr. for Sustainable Econ. v. Jewell, 779 F.3d 588, 596

(D.C. Cir. 2015)). Defendants do not dispute the latter two requirements, see Defs.’ Opp’n at 17,

Feb. 24 Tr. at 75:20–78:5, and the Court agrees they are satisfied. The privacy interests of

Plaintiffs’ members are germane to Plaintiffs’ organizational missions.4 And the Court discerns


4
 See Fiesta Decl. ¶ 3 (declaring that the “Alliance advocates on behalf of its members . . . on issues such as . . .
consumer protection”); Kelley Decl. ¶ 3 (declaring that AFGE “seeks to promote dignity, safety, and fairness for
government employees”); Ury Decl. ¶ 3 (declaring that SEIU “advocates on behalf of its members and seeks to
improve the lives of workers and their families and to promote an equitable society and economy”).

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no reason Plaintiffs’ members must participate directly in this case rather than allow their

associations to speak on their behalf.

       The associational standing inquiry in this case turns on the first requirement: that Plaintiffs’

members would have standing to sue as individuals. To satisfy that requirement, Plaintiffs must

contend with the familiar three-pronged standing inquiry. That is, each Plaintiff “must show that:

(1) at least one of its members has suffered an injury-in-fact that is concrete and particularized and

actual or imminent, not conjectural or hypothetical; (2) the injury is fairly traceable to the

challenged action; and (3) it is likely, as opposed to merely speculative, that the injury will be

redressed by a favorable decision.” Sierra Club v. FERC, 827 F.3d 59, 65 (D.C. Cir. 2016)

(internal quotation marks omitted) (quoting Friends of the Earth, Inc. v. Laidlaw Env’t Servs., 528

U.S. 167, 180–81 (2000)).

       Although the plaintiff “bears the burden of establishing” these three elements, “the manner

and degree of evidence required” to do so varies “at the successive stages of the litigation.” Lujan,

504 U.S. at 561. This Memorandum Opinion follows from Plaintiffs’ Motion for a Preliminary

Injunction, on which Plaintiffs bear the burden of proof. But here, the Court considers only the

threshold question of whether it has subject-matter jurisdiction over this action. And because

Defendants have “not yet filed an answer,” the Court “must evaluate whether [Plaintiffs] have

established standing under the standard applicable pursuant to Federal Rule of Civil Procedure

12(b)(1).” Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (D.C. Cir. 2015).

       For that reason, the Court does not assess here whether Plaintiffs have “‘show[n] a

“substantial likelihood” of standing’ ‘under the heightened standard’” applicable on a motion for

a preliminary injunction. Elec. Priv. Info. Ctr. v. Presidential Advisory Comm’n on Election

Integrity, 878 F.3d 371, 377 (D.C. Cir. 2017) (quoting Food & Water Watch, 808 F.3d at 912–13).



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But the Court notes that—consistent with that heightened standard—Plaintiffs’ argument for

standing does not “rest on . . . mere allegations” because they have “set forth by affidavit or other

evidence specific facts” that support the existence of a case or controversy. Id. (quoting Lujan,

504 U.S. at 561).

       In any event, to satisfy Article III’s case-or-controversy requirement under the 12(b)(1)

standard applicable here, Plaintiffs need only “state a plausible claim” to standing. Humane Soc’y

of the U.S. v. Vilsack, 797 F.3d 4, 8 (D.C. Cir. 2015). When assessing whether Plaintiffs have

cleared this hurdle, the Court “must accept as true all material allegations of the [C]omplaint.”

Warth v. Seldin, 422 U.S. 490, 501 (1972). But the Court is not bound to the Complaint alone.

Rather, “[i]n determining standing,” the Court may also “consider materials outside of the

Complaint.” Food & Water Watch, 808 F.3d at 913.

       Further, the Court must “assume [Plaintiffs] will prevail on the merits of their” claims when

evaluating their standing to sue. LaRoque v. Holder, 650 F.3d 777, 785 (D.C. Cir. 2011). That is

particularly so where, as here, Defendants argue that “even assuming” the merits of Plaintiffs’

claims, “Plaintiffs still fail to establish standing.” Defs.’ Opp’n at 18. That defense is a “facial

challenge” to Plaintiffs’ standing. Ranchers-Cattlemen Action Legal Fund v. USDA, 573 F. Supp.

3d 324, 332–33 (D.D.C. 2021) (RDM) (distinguishing facial challenges from factual challenges).

And because Defendants question only the “legal sufficiency” of Plaintiffs’ standing, the Court

need not “go beyond the pleadings [to] resolve . . . disputed issues.” Phoenix Consulting v.

Republic of Angl., 216 F.3d 36, 40 (D.C. Cir. 2000).

       Having expounded on the relevant burdens and standards of review, the Court returns to

the elements of the standing analysis. The parties focus their briefing on the first Article III

requirement: that Plaintiffs’ members have “suffered an injury-in-fact that is concrete and



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particularized and actual or imminent, not conjectural or hypothetical.” Sierra Club, 827 F.3d at

65 (internal quotation marks omitted). Plaintiffs allege their members have suffered one form of

injury: “Defendants have allowed third parties unlawful access to Plaintiffs’ members’ private

information” by failing to comply with the Privacy Act, the Internal Revenue Code, and the

Administrative Procedure Act. Pls.’ Mot. at 21. But an alleged violation of statutory privacy

protections does not complete the injury-in-fact inquiry. Under Article III, “an injury in law is not

an injury in fact.” TransUnion LLC v. Ramirez, 594 U.S. 413, 427 (2021).

       “Article III standing requires a concrete injury even in the context of a statutory violation.”

Spokeo, Inc. v. Robins, 578 U.S. 330, 341 (2016). To be “concrete,” an injury must be “real” rather

than “abstract”—that is, “it must actually exist.” Id. A “bare procedural violation” (for example,

failing to publish a notice of a new routine use in the Federal Register) does not qualify as

“concrete” on its own, even if it is directly contrary to law or gives rise to a statutory cause of

action. Id. at 342. The question, then, is “[w]hat makes a harm concrete for purposes of

Article III?” TransUnion, 594 U.S. at 424. To answer that question in a case like this one, which

does not involve an alleged constitutional violation, Plaintiffs must “identif[y] a close historical or

common-law analogue for their asserted injur[ies].” Id.

       The Supreme Court illustrated this exercise in analogy in TransUnion LLC v. Ramirez, 594

U.S. 413 (2021). There, a credit reporting agency had erroneously placed alerts in the plaintiffs’

credit files “labeling them as potential terrorists.” Id. at 431. The Supreme Court assumed that

the credit reporting agency’s error “violated its obligations under the Fair Credit Reporting Act”

to maintain accurate information about customers. Id. And the Court analogized the harm

associated with that violation to “the reputational harm associated with the tort of defamation.” Id.

at 432. Although the Court did “not require an exact duplicate” of a defamation claim to support



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this common-law analogy, it reasoned that “[p]ublication is ‘essential to liability’ in a suit for

defamation.” Id. at 433–34 (quoting Restatement (First) of Torts § 577, cmt. a (Am. L. Inst.

1938)). As a result, it concluded that the plaintiffs whose erroneous “reports were disseminated to

third parties suffered a concrete injury in fact” while the plaintiffs whose erroneous reports were

never shared did not. Id. at 433–35.

       Defendants argue that TransUnion dooms Plaintiffs’ standing here.                Relying on

TransUnion and other cases discussing the tort of defamation, they contend that, “for Plaintiffs to

establish some concrete harm,” they must show “that the information had been disclosed in a way

that causes them harm, such as a public disclosure.” Defs.’ Opp’n at 18. Because Plaintiffs allege

“(at most) an exchange internal to the federal government,” Defendants argue, Plaintiffs have not

shown the type of public exposure “that causes tangible harm.” Id. at 19.

       This argument relies on the premise that the public-vs.-internal distinction in TransUnion

grafts onto this case as a public-vs.-all-of-government distinction. That is not obviously so. After

all, the Privacy Act draws the line between “the agency which maintains” a given record and “any

person” or any “[]other agency.” 5 U.S.C. §§ 552a(b), (b)(1). The privacy interest the statute

creates does not turn on publicity in the traditional sense. Instead, the issue under the Privacy Act

is whether a protected record has been disclosed to anyone outside the relevant agency, even others

in government.

       But in any event, Defendants’ publicity argument is fundamentally inapposite. A lack of

public exposure supports an argument that the harm that Plaintiffs describe is not analogous to the

reputational harm caused by defamation. (Indeed, it is only the second-best evidence for that

argument because Plaintiffs have not alleged the most essential element of defamation: a false and

defamatory statement. See Restatement (Second) of Torts § 558 (Am. L. Inst. 1977).) But



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TransUnion does not require that Plaintiffs’ injury be analogous to defamation or reputational

harm; it requires that Plaintiffs’ injury “has a ‘close relationship’ to a harm ‘traditionally’

recognized as providing a basis for a lawsuit in American courts.” 594 U.S. at 424 (quoting

Spokeo, 578 U.S. at 341).

         Here, Plaintiffs have satisfied their burden of showing that their harm has a close

relationship to the harm to privacy vindicated by the common-law tort of intrusion upon seclusion.

TransUnion recognizes that the privacy harm arising from an “intrusion upon seclusion” is an

intangible injury sufficiently “concrete” to satisfy Article III. 594 U.S. at 425. And Courts in this

District and across the country have followed suit when assessing standing.5

         At common law, the essential features of intrusion upon seclusion are that the defendant

intentionally intruded “upon the solitude or seclusion of another or his private affairs or concerns”

and that such intrusion “would be highly offensive to a reasonable person.” Restatement (Second)

of Torts § 652B. Crucially, intrusion upon seclusion “does not depend upon any publicity given

to the person whose interest is invaded.” Id. cmt. a. Rather, “[t]he intrusion itself makes the

defendant subject to liability, even though there is no publication.” Id. cmt. b.

         Plaintiffs’ alleged injury—the disclosure of their private information to third parties

without a lawful right to access it—bears a close relationship to the harm essential to an intrusion

upon seclusion at common law.

         First, the harm Plaintiffs describe involves an intrusion into their members’ “private affairs

or concerns.” Restatement (Second) of Torts § 652B. Courts vary in their assessments of what


5
 See, e.g., Gadelhak v. AT&T Servs., Inc., 950 F.3d 458, 461–63 (7th Cir. 2020) (Barrett, J.) (holding that a plaintiff’s
receipt of unwanted automated text messages was sufficient to confer standing because it was an “intrusive invasion
of privacy” with a close relationship to the harm vindicated by intrusion upon seclusion); Dickson v. Direct Energy,
LP, 69 F.4th 338, 344–45 (6th Cir. 2023); Lupia v. Medicredit, Inc., 8 F.4th 1184, 1191–92 (10th Cir. 2021); Attias v.
CareFirst, Inc., 344 F.R.D. 38, 46 n.2 (D.D.C. 2023) (CRC); Pileggi v. Wash. Newspaper Publ’g Co., No. 23-cv-345,
2024 WL 324121, at *5–8 (D.D.C. Jan. 29, 2024) (BAH).


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constitutes a private affair or concern within the ambit of intrusion upon seclusion. But one

frequent consideration is whether the plaintiff had a “reasonable expectation of privacy” in the

information or thing intruded upon.6 Here, Plaintiffs’ members have a reasonable expectation that

the records at issue will be private. It is entirely reasonable for those members to rely on the

explicit statutory protections provided by the Privacy Act and the Internal Revenue Code. And

individual members of the Plaintiff organizations aver that they have in fact formed an expectation

that federal agencies will keep their records private. See Rosenblatt Decl. ¶ 10 (“I have trusted the

government to maintain the privacy of my information and to only use my information for lawful

purposes.”); McElhaney Decl. ¶ 10 (same); Casey Decl. ¶ 10 (same).

         Moreover, the District of Columbia Court of Appeals has recognized, under D.C. common

law, that “examining a plaintiffs’ private bank account” is one of the “types of invasion intrinsic

in the tort of intrusion upon seclusion.” Wolf v. Regardie, 553 A.3d 1213, 1217–18 (D.C. 1989).

The systems of records at issue in this litigation contain the exact type of private information that

might be found through inspection of an individual’s bank account. System .002 contains the

“routing number” and “account number” of federal payees. 85 Fed. Reg. 11779. System .012

contains information about household “income, assets, [and] liabilities.” Id. at 11794. And System

.013 contains “information about an individual’s bank account(s)” and “credit and debit card

numbers.” Id. at 11796–97.

         Here, the intrusion at issue is upon the privacy of information that Plaintiffs have already

turned over to the government. And “there is no liability” for intrusion upon seclusion when the




6
  See, e.g., In re Nickelodeon Consumer Priv. Litig., 827 F.3d 262, 294 (3d Cir. 2016) (“Viacom’s promise not to
collect ‘ANY personal information’ from children itself created an expectation of privacy . . . .”); Reuber v. Food
Chem. News, Inc., 899 F.2d 271, 286 (4th Cir. 1990) (“[T]he jury could have reasonably found that Reuber had a
legitimate expectation of privacy in the letter . . . .”); Bogie v. Rosenberg, 705 F.3d 603, 611 (7th Cir. 2013) (“Bogie
must therefore establish that a reasonable person could have an expectation of privacy . . . .”).

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defendant merely examines “a public record concerning the plaintiff” or “documents that the

plaintiff is required to keep and make available for public inspection.” Restatement (Second) of

Torts § 652B cmt. c. But the common law recognizes that, even when the plaintiff has opened his

affairs to some scrutiny, there are still “matters about the plaintiff . . . that are not exhibited to the

public gaze.” Id.

        An illustration from the Restatement clarifies the point: A is seeking evidence for a suit

against B; B has disclosed his financial information to a bank; A goes to the bank with a forged

court order and demands access to B’s bank records; when the bank acquiesces to that demand,

“A has invaded B’s privacy.” Id. cmt. b, illus. 4. The fact that B had disclosed his information to

the bank does not defeat A’s liability because B still has a privacy interest in those records vis-à-

vis A. That disclosure is closely analogous to the scenario Plaintiffs have alleged here: Plaintiffs’

members disclosed their information to Treasury; individuals falsely purporting to have lawful

access to that information demanded its disclosure; when Treasury acquiesced to that demand, the

individuals invaded Plaintiffs’ members’ privacy.

        Second, the intrusion at issue must be of a kind that “would be highly offensive to a

reasonable person.” Restatement (Second) of Torts § 652B. “The question of what kinds of

conduct will be regarded as a ‘highly offensive’ intrusion is largely a matter of social conventions

and expectations.” J. Thomas McCarthy, The Rights of Publicity and Privacy § 5.1(A)(2) (1993).

But in the District of Columbia at least, the law is clear that:

        In this age of identity theft and other wrongful conduct through the unauthorized
        use of electronically-stored data, . . . conduct giving rise to unauthorized viewing
        of personal information such as a plaintiff’s Social Security number and other
        identifying information can constitute an intrusion that is highly offensive to any
        reasonable person . . . .

Randolph v. ING Life Ins. & Annuity Co., 973 A.2d 702, 710 (D.C. 2009). Plaintiffs allege exactly

this kind of unauthorized viewing. See Compl. ¶¶ 21–23; Pls.’ Mot. at 21. And according to the
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affidavits submitted by Plaintiffs’ members, this alleged conduct has caused offense and distress.

E.g., Rosenblatt Decl. ¶ 10 (“I am disturbed, anxious, and frustrated that the government violated

my trust . . . .”). That anxiety is reasonable given the sensitivity of the information at issue. And

it is particularly reasonable here because, by Defendants’ own admission, Treasury’s security

measures limiting access to BFS records by the Treasury DOGE Team have proven imperfect. See

Gioeli Decl. ¶ 20 (reporting that BFS’s information-security team “discovered that Mr. Elez’s

database access . . . had mistakenly been configured” to allow “read/write” access to the SPS

database when BFS had intended to grant “read only” access).

       At the hearing on Plaintiffs’ Motion, Defendants argued that Plaintiffs’ asserted injury does

not align perfectly with the harm that could be vindicated by a common-law action for intrusion

upon seclusion. See Feb. 24 Tr. at 84:12–85:14. But Article III “does not require an exact duplicate

in American history and tradition.” TransUnion, 594 U.S. at 424. Rather, courts assessing a

plaintiffs’ standing “are meant to look for a ‘close relationship’ in kind, not degree.” Gadelhak,

950 F.3d at 462 (Barrett, J.). Even if Defendants could show that an invasion of Plaintiffs’

members’ privacy interests in the information stored in Treasury’s systems of records would not

be “actionable at common law,” that invasion would still implicate “the same kind of harm that

common law courts recognize.” Id. For that reason, the injury that Plaintiffs allege that their

members face is a concrete injury-in-fact for Article III purposes.

       That still leaves the final two prongs of the classic standing analysis: causation and

redressability. As the D.C. Circuit has recognized, the two “‘are closely related,’ like ‘two sides

of a . . . coin.’” West v. Lynch, 845 F.3d 1228, 1235 (D.C. Cir. 2017) (alteration in original)

(quoting Dynalantic Corp. v. Dep’t of Defense, 115 F.3d 1012, 1017 (D.C. Cir. 1997)). Causation

requires “a fairly traceable connection” between the complained-of conduct and the claimed injury.



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Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 103 (1998). And redressability requires “a

likelihood that the requested relief will redress the alleged injury.” Id.

        Neither party spills much ink on these requirements. That is understandable. Plaintiffs

allege that their members are injured because they have been deprived of statutory privacy

protections. See Compl. ¶ 40. That alleged injury is fairly traceable to Defendants’ alleged

conduct: granting unauthorized access to Plaintiffs’ members’ protected records without obtaining

their consent or complying with relevant procedures. See id. ¶ 44; Feb. 24 Tr. at 14:12–15:11.

And Plaintiffs’ requested relief—an injunction prohibiting Defendants from continuing to allow

that access—would undoubtedly redress the alleged injury to their members. See Compl. at 18;

Feb. 24 Tr. at 16:2–12.

        In sum, the Court concludes that Plaintiffs have adequately alleged that their members

suffered a concrete injury in fact, that this injury is caused by Defendant’s alleged conduct, and

that this injury is redressable through this suit. For that reason, Plaintiffs’ members would have

standing to bring this action in their own right. Because the Court also concludes that the privacy

interest Plaintiffs seek to protect is germane to their organizational purposes and that their

members need not participate in this suit individually, Plaintiffs have associational standing to

bring this suit.

                   2. Sovereign immunity does not bar this suit.

        Defendants’ next jurisdictional argument is that they have immunity from this action.

Absent a waiver, sovereign immunity shields the United States and its officers, agencies, and

instrumentalities from suit. See Loeffler v. Frank, 486 U.S. 549, 554 (1988). That sovereign

immunity is jurisdictional in nature. FDIC v. Meyer, 510 U.S. 471, 475 (1994). And “the terms

of [the United States’s] consent to be sued in any court define that court’s jurisdiction to entertain



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the suit.” United States v. Sherwood, 312 U.S. 584, 586 (1941). Because each Defendant in this

matter is protected by the aegis of the United States’s sovereign immunity, the Court has subject-

matter jurisdiction over this suit only if Plaintiffs’ claims fall within the scope of a statutory waiver

of that immunity.

        Plaintiffs’ Complaint seeks only declaratory and injunctive relief.              Compl. at 18.

Therefore, the relevant waiver of sovereign immunity is Section 702 of the Administrative

Procedure Act. See Sea-Land Serv., Inc. v. Alaska R.R., 659 F.2d 243, 244 (D.C. Cir. 1981)

(holding that Section 702 “eliminat[es]” the “sovereign immunity defense in all actions for

specific, nonmonetary relief against a United States agency or officer acting in an official

capacity”). Section 702 provides, in relevant part:

        An action in a court of the United States seeking relief other than money damages
        and stating a claim that an agency or an officer or employee thereof acted or failed
        to act in an official capacity or under color of legal authority shall not be dismissed
        nor relief therein be denied on the ground [of sovereign immunity]. . . . Nothing
        herein . . . confers authority to grant relief if any other statute that grants consent to
        suit expressly or impliedly forbids the relief which is sought.

5 U.S.C. § 702.

        Defendants briefly argue that Congress intended the remedies in the Privacy Act to be

exclusive, impliedly forbidding related forms of relief under the APA. Defs.’ Opp’n at 19–20

(citing Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 215

(2012)). In the decision on which Defendants rely in support of this argument, the Supreme Court

explained that “‘[w]hen Congress has dealt in particularity with a claim and [has] intended a

specified remedy’—including its exceptions—to be exclusive, that is the end of the matter; the

APA does not undo the judgment.” Match-E-Be-Nash-She-Wish Band, 567 U.S. at 216 (second

alteration in original) (quoting Block v. North Dakota ex rel. Board of Univ. and School Lands,

461 U.S. 273, 286 n.22 (1983)).


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       However, the Supreme Court’s more recent decision in Department of Agriculture Rural

Development Rural Housing Service v. Kirtz, 601 U.S. 42 (2024), suggests that the Privacy Act is

not the kind of comprehensive and “exclusive” remedial statute that impliedly displaces related

remedies under other statutes. In Kirtz, the Supreme Court considered whether the Privacy Act’s

remedies for inaccurate agency recordkeeping foreclose a similar remedy under the Fair Credit

Reporting Act (“FCRA”). Id. at 63. The Court concluded that the Privacy Act and FCRA are

“complementary” and that the Privacy Act’s remedial scheme did not evince congressional intent

to forbid the remedy available under FCRA. Id.

       Informed by that analysis, this Court concludes that Congress did not intend for the Privacy

Act to be an “exclusive” source of claims or remedies for alleged mishandling of records about

individuals that impliedly forbids other relief under the APA. See Match-E-Be-Nash-She-Wish

Band, 567 U.S. at 216. Therefore, the availability of a Privacy Act suit for damages does not take

this case outside the scope of the waiver of sovereign immunity in § 702 of the APA and does not

affect this Court’s subject-matter jurisdiction over Plaintiffs’ APA claims.

       Defendants advance one final, related argument that this Court lacks jurisdiction over

Plaintiffs’ APA claims. See Defs.’ Opp’n at 15–19. That argument proceeds as follows: Section

704 of the APA subjects to judicial review “agency action for which there is no other adequate

remedy in a court.” 5 U.S.C. § 704. The Privacy Act provides for individual damages suits for

“intentional and willful” violations of its provisions. 5 U.S.C. § 552a(g)(1)(D), (g)(4). Similarly,

the Internal Revenue Code provides for “damages against the United States” for improper

inspection or disclosure of tax return information. 26 U.S.C. § 7431(a)–(b). According to

Defendants, damages suits afford an “adequate” remedy for improper disclosures of protected

records about individuals or individuals’ tax return information. See Defs.’ Opp’n at 15–19.



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Therefore, the argument concludes, injunctive relief is not available under the APA to prevent

improper disclosure of the information at issue. See id.

       However, as Defendants conceded during the hearing on Plaintiffs’ Motion, this argument

APA is not jurisdictional. See Feb. 24 Tr. at 92:21–93:8. The D.C. Circuit has held explicitly that

there is “no textual or logical basis for construing § 704—which limits judicial review to ‘final

agency action for which there is no other adequate remedy’—to condition a waiver of sovereign

immunity on the absence of an adequate remedy.” Perry Capital LLC v. Mnuchin, 864 F.3d 591,

621 (D.C. Cir. 2017). Section 704’s adequate-remedy requirement “determine[s] whether there is

a cause of action under the APA, not whether there is federal subject[-]matter jurisdiction.” Id. In

other words, the existence of an adequate remedy under the Privacy Act or the Internal Revenue

Code would not deprive the Court of subject-matter jurisdiction. Because this argument is not

jurisdictional, the Court need not resolve it here at the threshold.

       B. Plaintiffs Are Not Entitled to a Preliminary Injunction.

       Assured of its jurisdiction, the Court turns to the four-factor Winter test for the issuance of

preliminary injunctive relief. Under this test, Plaintiffs have the burden of establishing that

(1) they are “likely to succeed on the merits,” (2) they are “likely to suffer irreparable harm in the

absence of preliminary relief,” (3) “the balance of equities tips in [their] favor,” and (4) “an

injunction is in the public interest.” Winter, 555 U.S. at 20.

       Here, the Court’s analysis of the Winter factors begins and ends with irreparable harm. To

obtain a preliminary injunction, “the movant has the burden to show that all four [Winter] factors,

taken together, weigh in favor of the injunction.” Abdullah v. Obama, 753 F.3d 193, 197 (D.C.

Cir. 2014) (quoting Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1292 (D.C. Cir. 2009)).

However, “the basis of injunctive relief in the federal courts has always been irreparable harm.”



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Chaplaincy of Full Gospel Churches, 454 F.3d at 297. Therefore, “[a] movant’s failure to show

any irreparable harm is . . . grounds for refusing to issue a preliminary injunction,” regardless of

the strength of the movant’s evidence as to any other factor. Alpine Sec. Corp. v. Fin. Indus. Regul.

Auth., 121 F.4th 1314, 1336 (D.C. Cir. 2024) (quoting Chaplaincy of Full Gospel Churches, 454

F.3d at 297).

       Moreover, because a preliminary injunction is “an extraordinary remedy” that is “never

awarded as of right” and that “may only be awarded upon a clear showing that the plaintiff is

entitled to such relief,” courts must not issue such injunctions “based only on a possibility of

irreparable harm.” Winter, 555 U.S. at 22, 24 (emphasis added). Instead, to obtain a preliminary

injunction, the moving party must demonstrate “that irreparable injury is likely in the absence of

an injunction.” Id. at 22 (emphasis in original).

       Consistent with these standards, the U.S. Court of Appeals for the D.C. Circuit has “set a

high standard” for the showing of irreparable harm necessary to obtain a preliminary injunction.

Chaplaincy of Full Gospel Churches, 454 F.3d at 297. In this Circuit, the asserted injury offered

to support a preliminary injunction “must be both certain and great.” Wis. Gas Co. v. FERC, 758

F.2d 669, 674 (D.C. Cir. 1985). Accordingly, “[i]njunctive relief ‘will not be granted against

something merely feared as liable to occur at some indefinite time,’” nor will such relief be granted

against an injury that is merely “theoretical.” Id. (quoting Connecticut v. Massachusetts, 282 U.S.

660, 674 (1931)). Instead, “[t]he moving party must show [that] ‘[t]he injury complained of is of

such imminence that there is a “clear and present” need for equitable relief to prevent irreparable

harm.’” Chaplaincy of Full Gospel Churches, 454 F.3d at 297 (alteration in original) (quoting Wis.

Gas Co., 758 F.2d at 674). And as with all elements of the preliminary-injunction standard, the




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party seeking the injunction “carries the burden of persuasion” in establishing the likelihood of

irreparable harm. Cobell, 391 F.3d at 258.

       The standard for irreparable harm in this Circuit appears to be more demanding than that

in the Second Circuit. In the Second Circuit, longstanding precedent holds that a “distinct risk” of

certain harms “may be found to constitute irreparable injury” sufficient to support a preliminary

injunction. See Holt v. Cont’l Grp., Inc., 708 F.2d 87, 91 (2d Cir. 1983); Mullins v. City of New

York, 626 F.3d 47, 55 (2d Cir. 2010). Relying in part on this line of authority, Judge Jeannette A.

Vargas recently concluded that “increased ‘risk’ of negative consequences is sufficient to meet the

irreparable harm requirement for a preliminary injunction” in the Second Circuit. See New York v.

Trump, No. 25-cv-1144-JAV, 2025 WL 573771, at *25 (S.D.N.Y. Feb. 21, 2025) (citing Mullins,

626 F.3d at 55). In the D.C. Circuit, by contrast, an irreparable injury “must be both certain and

great” to support a preliminary injunction. See Wis. Gas Co., 758 F.2d at 674. This Court is

therefore bound not to issue an injunction based on a risk of harm that is only “theoretical.” Id.

       In this case, Plaintiffs identify two types of harm that they contend warrant injunctive relief

under the governing standards in this Circuit. However, at this stage, Plaintiffs have not carried

their heavy burden of clearly showing that either asserted harm is an irreparable injury that is both

“certain and great.” See id.

       Plaintiffs first assert that Defendants have unlawfully shared their members’ sensitive

information with members of the Treasury DOGE Team without their consent, resulting in an

immediate injury to their legitimate privacy interests. Pls.’ Reply at 8–9. But on the present

record, Plaintiffs have not made a “clear showing” that allowing the Treasury DOGE Team to

access their information is an irreparable harm warranting injunctive relief. See Winter, 555 U.S.

at 22. Although the privacy harms Plaintiffs have asserted are real and sufficiently concrete to



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support the exercise of this Court’s subject-matter jurisdiction, those asserted harms are not

necessarily “irreparable.” See Cal. Ass’n of Private Postsecondary Schools v. DeVos, 344 F. Supp.

3d 158, 170 (D.D.C. 2018) (RDM) (noting that an injury “sufficient to establish standing . . . does

not necessarily satisfy the more demanding burden of demonstrating irreparable injury”).

        As Judge Randolph D. Moss recently observed, courts in this District have consistently

“declined to find irreparable injury” from the disclosure of private information “where the

challenged disclosure is not ‘public,’” but instead is to a small number of “individuals obligated

to keep [the information] confidential.” Univ. of Cal. Student Ass’n v. Carter, No. 25-cv-0354, __

F. Supp. 3d __, 2025 WL 542586, at *5 (D.D.C. Feb. 17, 2025) (RDM).7                                 Under those

circumstances, a court can fashion “adequate . . . corrective relief” after the fact. See Wis. Gas.

Co., 758 F.2d at 674 (quoting Va. Petroleum Jobbers Ass’n v. FPC, 259 F.2d 921, 925 (D.C. Cir.

1958)). For example, this Court could order the small number of individuals who received the

information to return or destroy it. The “possibility” that adequate relief of that kind “will be

available at a later date, in the ordinary course of litigation[,] weighs heavily against a claim of

irreparable harm.” Id. (quoting Va. Petroleum Jobbers, 259 F.2d at 925).

        Plaintiffs also assert that Defendants’ actions “create a nonspeculative risk of dissemination

of private information to additional unauthorized parties” beyond the Treasury DOGE Team. Pls.’

Reply at 10. There is no doubt that public dissemination of sensitive, private information is an

irreparable harm.8 But on the present record, Plaintiffs have not carried their burden of showing

that such dissemination is likely. Instead, the record shows that Defendants have taken measures


7
 See also Baker DC v. NLRB, 102 F. Supp. 3d 194, 203 (D.D.C. 2015) (ABJ); Ashland Oil, Inc. v. FTC, 409 F. Supp.
297, 308 (D.D.C. 1976) (HFC), aff’d, 548 F.2d 977 (D.C. Cir. 1976).
8
  See, e.g., Hosp. Staffing Sols., LLC v. Reyes, 736 F. Supp. 2d 192, 200 (D.D.C. 2010) (CKK) (concluding that
“disclosure of proprietary information” to “competitors in the market” would constitute irreparable harm); Council on
Am.-Islamic Rels. v. Gaubatz, 667 F. Supp. 2d 67, 76 (D.D.C. 2009) (CKK) (concluding that public disclosure of
confidential information, including “personal information” about a party’s employees, would be irreparable harm).

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to monitor and control the Treasury DOGE Team’s access to BFS systems and limit the risk of

improper disclosure outside the agency. See, e.g., Gioeli Decl. ¶¶ 12–15. Defendants’ counsel

represented at the hearing on Plaintiffs’ Motion that these measures will remain in place going

forward. Feb. 24 Tr. 113:12–114:14. Meanwhile, Plaintiffs have not shown that any improper

disclosure of private information outside the federal government has taken place or that any such

dissemination is planned in the future. See Gioeli Decl. ¶ 21. The record does show that BFS

made mistakes while onboarding the Treasury DOGE Team: For example, it improperly granted

Elez “read/write” access to the SPS database for a brief period, and it failed to process Krause’s

appointment paperwork accurately and in a timely manner. Id. ¶ 20; Wenzler Decl. ¶ 5. However,

there is no direct evidence that any of these mistakes resulted in improper disclosure outside of the

federal government or made such disclosure more likely in the future. See Gioeli Decl. ¶ 21.

Therefore, these mistakes do not, without more, show that improper dissemination of private

information obtained from BFS systems is likely in the future.

       During the hearing on their Motion, Plaintiffs argued that certain language in the

President’s Executive Order reorganizing the USDS supports an inference that Defendants will

make improper disclosures of sensitive records in the absence of an injunction from this Court.

See Feb. 24 Tr. at 46:2–14. In relevant part, that Executive Order directs the heads of federal

agencies to:

       take all necessary steps, in coordination with the USDS Administrator and to the
       maximum extent consistent with law, to ensure USDS has full and prompt access
       to all unclassified agency records, software systems, and IT systems.

Exec. Order No. 14,158, 90 Fed. Reg. 8441 (Jan. 20, 2025) § 4(b). Plaintiffs argue that this

language shows that Defendants are “going to share data [with USDS] as soon as the courts allow

them to,” causing their members an irreparable loss of privacy. Feb. 24 Tr. at 46:10–17.



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         However, Defendants’ counsel represented to the Court that Defendants interpret the

Executive Order to require agencies like Treasury to share information with USDS only if that

sharing is “consistent with,” among other sources of law, the Privacy Act and the Internal Revenue

Code. Id. at 117:9–17. Defendants’ counsel further represented that, in the absence of a court

order, Defendants “would not share information with USDS unless it were authorized by the

Privacy Act or the Internal Revenue Code.” Id. at 118:7–10. Because Plaintiffs have not produced

any evidence to rebut this representation, they have not shown that unlawful dissemination of their

members’ private information is likely in the absence of a preliminary injunction.

         Plaintiffs’ inability to show a likelihood of future wrongful dissemination of their

members’ private information is fatal to their Motion. Under the law of this Circuit, an increased

risk of future harm, however grave that harm may be, is not sufficient to support a preliminary

injunction in the absence of a showing that the threatened harm is likely to materialize.9 Therefore,

merely asserting that the Treasury DOGE Team’s operations increase the risk of a catastrophic

data breach or public disclosure of sensitive information from BFS systems is not sufficient to

support a preliminary injunction. Instead, Plaintiffs have the heavy burden of demonstrating that

such a breach or improper disclosure is “likely in the absence of an injunction.” Winter, 555 U.S.

at 22 (emphasis in original). On the present record, Plaintiffs have not carried this burden.



9
  See, e.g., Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 205 F. Supp. 3d 4, 33–34 (D.D.C. 2016) (JEB)
(concluding that Tribes were not entitled to a preliminary injunction against permitting of oil pipeline operations, in
part because they had not shown that resulting harm to “sites of great cultural or historical significance” was
“probable,” even though that harm would be “significant”); Sierra Club v. United States Army Corps of Eng’rs, 990
F. Supp. 2d 9, 41 (D.D.C. 2013) (KBJ) (concluding that even “fearsome” harms from a potential future oil spill did
not support the issuance of a preliminary injunction against permitting of an oil pipeline where the plaintiffs had not
“shown that a damaging oil spill [was] likely” (emphasis in original)); Nat. Res. Def. Council v. Kempthorne, 525 F.
Supp. 2d 115, 126 (D.D.C. 2007) (concluding that the potential for gas drilling operations to cause methane seeps that
may kill or injure people did not warrant preliminary injunction in the absence of evidence that such harms were
“likely”); see also Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 540 F. Supp. 3d 45, 57 (D.D.C. 2021)
(JEB) (concluding, under the related standard for the issuance of a permanent injunction, that the threat of an oil spill
into water used “for drinking, industry, and sacred practices” was not sufficient to support injunctive relief against
operation of an oil pipeline without a showing that a spill was “likely,” rather than merely “possible”).

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       Similarly, in the absence of a showing that irreparable harm from improper disclosure is

likely, Plaintiffs’ evidence that their members are suffering and will continue to suffer emotional

distress because of Defendants’ actions is not sufficient to support a preliminary injunction. See,

e.g., Rosenblatt Decl., ¶¶ 7–10; McElhaney Decl., ¶¶ 7–10; Casey Decl. ¶¶ 7–10; Jenkins Decl.,

¶¶ 7–10; Morrison Decl., ¶¶ 5–8; Peterson Decl., ¶¶ 6–9; Tousignant Decl., ¶¶ 6–9. The Court

does not doubt the sincerity of Plaintiffs’ members’ understandable distress. But in this Circuit,

emotional distress, no matter how sincere, cannot support a preliminary injunction without a

showing that the feared event giving rise to that distress is likely to occur. See, e.g., Standing

Rock, 540 F. Supp. 3d at 63; Sierra Club, 990 F. Supp. 3d at 41 & n.18.

       On this point, now-Chief Judge James E. Boasberg’s decision in Standing Rock Sioux

Tribe v. United States Army Corps of Engineers, 540 F. Supp. 3d 45 (D.D.C. 2021), is instructive.

There, a group of sovereign American Indian Tribes had sued to halt the construction and operation

of the Dakota Access Pipeline, which they argued threatened a vital source of drinking water for

the Tribes on land that historically belonged to the Standing Rock Sioux Tribe and the Cheyenne

River Sioux Tribe. See id. at 51. Chief Judge Boasberg ultimately agreed with the Tribes on one

of their legal challenges to the pipeline project, concluding that the pipeline had unlawfully

encroached on federal land. Id. at 49. Nonetheless, he declined to issue a permanent injunction

against the pipeline’s operation because he concluded that the Tribes had not carried their burden

of showing a likely, irreparable injury under the law of this Circuit. Id. at 64. In reaching this

conclusion, Chief Judge Boasberg considered the argument that Tribe Members’ sincere “anxiety

and trauma” that would result from the contemplation of “a hypothetical damaging oil spill” on

sacred land might be an “irreparable injury” unto itself, regardless of the measurable risk of such

a spill. Id. at 62–63. He rejected that argument, reasoning that “when the risk of the feared harm



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from the agency action in question is ‘low,’ plaintiffs cannot claim irreparable injury from any

‘emotional distress’ surrounding the prospect of that speculative harm.” Id. at 63 (quoting Colo.

Wild Horse v. Jewell, 130 F. Supp. 3d 205, 220 (D.D.C. 2015) (CRC)).

       The same reasoning precludes the issuance of a preliminary injunction based on Plaintiffs’

members’ emotional distress in this case. Because Plaintiffs have not carried their burden of

showing that improper dissemination of their private information is likely in the absence of an

injunction, the emotional distress they may endure as a result of exposure to that risk—no matter

how sincere—does not provide a basis for injunctive relief. See Standing Rock, 540 F. Supp. 3d

at 63; Sierra Club, 990 F. Supp. 3d at 41 & n.18; Colo. Wild Horse, 130 F. Supp. 3d at 220.

       Finally, the Court briefly addresses one theory on which it does not rely in concluding that

Plaintiffs have not made the required showing of irreparable harm. Parties sometimes argue that

an injunction is not necessary to prevent irreparable harm because another district court has already

issued an injunction covering similar subject matter. However, this Court agrees with the many

others that “routinely grant follow-on injunctions against the Government, even in instances when

an earlier nationwide injunction has already provided plaintiffs in the later action with their desired

relief.” Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1,

60 (D.D.C. 2020) (JEB) (collecting cases). As Plaintiffs correctly noted during the hearing on

their Motion, a prior injunction may later be appealed or modified, so the existence of such an

injunction is not necessarily adequate to protect the interests of other parties. See Feb. 24 Tr. at

6:3–20. Accordingly, this Court has assessed Plaintiffs’ evidence of irreparable harm independent

of the preliminary injunction that Judge Vargas issued in the Southern District of New York, and

its conclusion does not depend on the existence of that injunction.




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       In sum, at this stage, Plaintiffs’ Motion falls short of the standard for issuance of a

preliminary injunction in this Circuit, which forbids courts from awarding that relief in the absence

of evidence of an injury that is “both certain and great.” Wis. Gas Co. v. FERC, 758 F.2d at 674;

see also Winter, 555 U.S. at 22 (holding that courts may not award the “extraordinary” remedy of

a preliminary injunction “based only on a possibility of irreparable harm”). Courts in this Circuit

“must faithfully and fairly apply that standard in all cases, regardless of how high the stakes or

how worthy the cause.” Standing Rock Sioux Tribe, 205 F. Supp. 3d at 34. This Court must

therefore deny Plaintiffs’ Motion.

       If Plaintiffs could show that Defendants imminently planned to make their private

information public or to share that information with individuals outside the federal government

with no obligation to maintain its confidentiality, the Court would not hesitate to find a likelihood

of irreparable harm. But on the present record, Plaintiffs have not shown that Defendants have

such a plan. If circumstances change, Plaintiffs are free to return to federal court to seek any proper

emergency remedy. Accord, e.g., Am. For. Serv. Ass’n v. Trump, 25-cv-0352, ECF No. 49 at 14

n.2 (D.D.C. Feb. 21, 2025) (CJN). Nothing in today’s opinion should be understood to foreclose

or in any way prejudge any future request for such relief.

                                        IV. CONCLUSION

       For the foregoing reasons, the Court shall DENY Plaintiffs’ [8] Motion for a Preliminary

Injunction. An appropriate Order accompanies this Memorandum Opinion.



       DATED: March 7, 2025




                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge

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